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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                  )
                                           )
              vs.                          )    CAUSE NO.: 3:11-CR-85(02)RM
                                           )
 STEPHEN M. JOHNSON                        )


                                       ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on September 1, 2011 [Doc. No.

 33]. Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Stephen M. Johnson’s plea of guilty, and FINDS the

 defendant guilty of Count 2 of the Indictment, in violation of 18 U.S.C. § 922(g)(9).

       SO ORDERED.

       ENTERED: September 23, 2011




                                           /s/ Robert L. Miller, Jr.
                                        Judge
                                        United States District Court
